     Case 1:21-cv-05339-SCJ      Document 287   Filed 10/26/23   Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ALPHA PHI ALPHA FRATERNITY,
INC., et al.,
             Plaintiffs,                    CIVIL ACTION FILE
      v.                                    NO. 1:21-CV-5337-SCJ
BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
of Georgia,
             Defendant.
COAKLEY PENDERGRASS, et al.,
             Plaintiffs,                    CIVIL ACTION FILE
      v.                                    NO. 1:21-CV-5339-SCJ
BRAD RAFFENSPERGER, et al.,
             Defendants.
ANNIE LOIS GRANT, et al.,
             Plaintiffs,                    CIVIL ACTION FILE
      v.                                    NO. 1:22-CV-0122-SCJ
BRAD RAFFENSPERGER, et al.,
             Defendants.


                                   JUDGMENT

     This action having come before the Court for a bench trial on Plaintiffs’

respective Complaints, the Honorable Steve C. Jones presiding, and the issues
      Case 1:21-cv-05339-SCJ      Document 287      Filed 10/26/23   Page 2 of 2




having been tried and the Court having rendered its verdict in favor of the Plaintiffs,

      It is ORDERED AND ADJUDGED that JUDGMENT is entered in favor of

PLAINTIFFS and against remaining Defendants in accordance with this Court’s

Order of October 26, 2023. Attorneys’ fees and costs are also awarded to each set of

Plaintiffs pursuant to 52 U.S.C. § 10310(e) and 42 U.S.C. § 1988.

      These civil actions are now TERMINATED, with the Court retaining

jurisdiction for oversight and any necessary remedial proceedings.

      Dated at Atlanta, Georgia this 26th day of October, 2023.

                                                KEVIN P. WEIMER
                                                CLERK OF COURT

                                                By: s/Pamela Wright
                                                Pamela Wright
                                                Deputy Clerk

Prepared, filed and entered
in the Clerk’s Office
October 26, 2023 .
Kevin P. Weimer
Clerk of Court

By: Pamela Wright
  Pamela Wright
  Deputy Clerk




                                          -2-
